      Case 1:24-cv-11582-ADB          Document 71        Filed 06/24/25     Page 1 of 12




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                               *
 BABY JOGGER, LLC,                             *
                                               *
               Plaintiff,                      *
                                               *
                v.                             *
                                               *   Civil Action No. 24-cv-11582-ADB
                                               *
 MONAHAN PRODUCTS, LLC d/b/a                   *
 UPPABABY,                                     *
                                               *
                                               *
                Defendant.                     *



                              MEMORANDUM AND ORDER


BURROUGHS, D.J.

       Plaintiff Baby Jogger, LLC (“Baby Jogger” or “Plaintiff”) brings this action for patent

infringement related to its convertible single-to-double stroller against Defendant Monahan

Products, LLC d/b/a UPPAbaby (“UPPAbaby” or “Defendant”). [ECF No. 29 (“Amended

Complaint” or “Am. Compl.”)]. Currently before the Court is Defendant’s summary judgment

motion based on equitable estoppel. [ECF No. 41]. For the reasons set forth below, the motion

is DENIED.
           Case 1:24-cv-11582-ADB           Document 71        Filed 06/24/25     Page 2 of 12




I.          BACKGROUND

                A.      Material Facts 1

            Baby Jogger owns several patents, including United States Patent No. 8,955,869 (the

  “’869 Patent”), United States Patent No. 9,403,550 (the “’550 Patent”), United States Patent No.

     11,192,568 (“the ’568 Patent”), U.S. Patent No. 11,505,231 (the “’231 Patent”), and United

     States Patent No. 11,878,729 (the “’729 Patent”) (collectively, the “Asserted Patents”). [ECF

     No. 53 ¶¶ 2–6].

            On December 4, 2015, Baby Jogger sent UPPAbaby a short letter, stating that it “has

     come to [Baby Jogger’s] attention that UPPA[b]aby is selling products, such as the Vista stroller,

     that may be covered by one or more claims in the ’869 patent.” [ECF No. 53 ¶ 9 (quoting [ECF

     No. 42-2 at 2 (the “December 4 Letter”)]. The letter attached a copy of the patent and further

     stated, “Please contact [Baby Jogger] within the next ten (10) business days to discuss potential

     resolution of this issue.” [December 4 Letter]. On December 18, 2015, Baby Jogger sent

     UPPAbaby’s counsel an email, which included a chart with “more detail on the features that

     [Baby Jogger was] concerned about.” [ECF No. 53 ¶ 14 (quoting ECF No. 48-3 (the “December

     E-mail”) at 2]. The December E-mail noted that Baby Jogger and UPPAbaby “are no longer

     talking about doing business together at this time” and that Baby Jogger “need[ed] to continue to

     be vigilant abouts its IP.” [December E-mail at 2]. On December 30, 2015, UPPAbaby, through

     its counsel, responded to Baby Jogger’s letter. [ECF No. 42-2 at 4–5 (the “December 30

  Letter”)]. Specifically, the December 30 Letter stated that “Newell Rubbermaid and UPPAbaby



  1
   The Court draws the facts from the parties’ combined Rule 56.1 statement of material facts,
  which consists of Plaintiff’s Response to Defendant’s Statement of Undisputed Material Facts,
  [ECF No. 49], Defendant’s Responses to Plaintiff’s Statement of Additional Material Facts,
  [ECF No. 53], and documents referenced therein.
                                                  2
       Case 1:24-cv-11582-ADB             Document 71        Filed 06/24/25      Page 3 of 12




were in business discussions just prior to receiving [Baby Jogger’s] letter” 2 and that “Newell

Rubbermaid appears to be engaging in unfair business practices and attempting to disrupt

UPPAbaby’s business.” [December 30 Letter at 1]. The letter cautioned Baby Jogger that

before asserting “unfounded claims of infringement,” it “should be made aware of several facts”:

                 First, the patent Newell Rubbermaid acquired from Baby Jogger was
                 filed on April 25, 2014, and claims priority to a continuation
                 application filed on December 4, 2009, which is now abandoned,
                 and a provisional application filed on December 4, 2008. Second,
                 UPPAbaby’s Vista stroller was first sold in 2006, at least two years
                 before the earliest application filed by Baby Jogger. Third,
                 UPPAbaby’s Rumble Seat was publicly disclosed in 2008, including
                 at the ABC Tradeshow in September, 2008, before the earliest
                 application filed by Baby Jogger. Fourth, Baby Jogger and
                 UPPAbaby were on friendly terms in 2008 and both attended the
                 ABC Tradeshow in September, 2008, where Baby Jogger
                 representatives saw UPPAbaby’s Rumble Seat.

[Id.]. Further, the December 30 Letter continued, if UPPAbaby’s products, such as the Vista

stroller, were covered by the ’869 patent, it would mean that

                 the ‘869 patent is invalid. UPPAbaby’s Vista stroller was first sold
                 in 2006, well before the earliest application relating to the ‘869
                 patent. Similarly, UPPAbaby’s Rumble Seat was publicly shown in
                 2008, before the earliest filing date of Baby Jogger patent. In
                 addition, to the extent that Baby Jogger representatives stole the idea
                 from UPPAbaby, then the patent is invalid.

[Id.]. As to the December E-mail, UPPAbaby wrote that the infringement chart included in the

e-mail did not

                 explain why Newell Rubbermaid believes any element of any claim
                 of the ‘869 patent is infringed. Instead, [Newell Rubbermaid]
                 copied pictures of the UPPAbaby Vista stroller and Rumble Seat
                 into a chart with no explanation. We do not see any basis in your
                 chart for the allegations Newell Rubbermaid has made.


2
  Baby Jogger clarifies that Newell Rubbermaid is Baby Jogger’s former corporate owner and
that Baby Jogger, LLC is an indirect, wholly owned subsidiary of Newell Brands Inc., which was
formerly named Newell Rubbermaid. [ECF No. 49 ¶ 15; ECF No. 2].
                                               3
         Case 1:24-cv-11582-ADB           Document 71       Filed 06/24/25      Page 4 of 12




   [Id. at 1–2]. UPPAbaby noted that it had dealt with Baby Jogger “in good faith during the prior

   discussions” and hoped that “Newell Rubbermaid will do the same and not attempt to continue to

   disrupt UPPAbaby’s business.” [Id. at 2].

          Baby Jogger replied on March 15, 2016. [ECF No. 42-2 at 7–8 (the “March Letter”)].

   The March Letter stated that (i) the companies’ prior business dealings referenced by UPPAbaby

   were “unrelated” to the present matter, (ii) Baby Jogger’s investigation had been “based only on

   publicly available information” and Baby Jogger would be “happy to discuss” “any remaining

   specific concerns,” and (iii) the product at issue was UPPAbaby’s “current [rather than the

   2008/09] version of the Rumble Seat,” which it believed was “launched in the 2015 timeframe.”

   [March Letter at 1]. Baby Jogger concluded the letter by writing that it was “look[ing] forward

   to working together towards a resolution.” [Id. at 2]. After the March Letter, Baby Jogger took

   no further action against UPPAbaby until the filing of the Complaint on June 18, 2024, [ECF No.

   49 ¶ 26], despite knowing that UPPAbaby continued to manufacture, sell, and offer its Vista and

   RumbleSeat products following the parties’ pre-suit correspondence, [ECF No. 49 ¶ 29].

              B.     Procedural History

          Baby Jogger brought the instant action on June 18, 2024. [ECF No. 1]. After UPPAbaby

   moved to dismiss the Complaint, [ECF No. 27], Baby Jogger filed its Amended Complaint on

   September 27, 2024, [Am. Compl.]. On December 20, 2024, UPPAbaby moved for summary

   judgment, [ECF No. 41], Babby Jogger opposed on January 24, 2025, [ECF No. 48], and

   UPPAbaby filed a reply on February 7, 2025, [ECF 52].

II.       LEGAL STANDARD

          Summary judgment is appropriate where “the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
                                                   4
       Case 1:24-cv-11582-ADB            Document 71         Filed 06/24/25      Page 5 of 12




R. Civ. P. 56(a). An issue is considered “genuine” when “the evidence of record permits a

rational factfinder to resolve it in favor of either party.” Borges ex rel. S.M.B.W. v. Serrano-

Isern, 605 F.3d 1, 4–5 (1st Cir. 2010) (citing Medina-Muñoz v. R.J. Reynolds Tobacco Co., 896

F.2d 5, 8 (1st Cir. 1990)). A fact is considered “material” when “its existence or nonexistence

has the potential to change the outcome of the suit.” Id. at 5 (citing Martínez v. Colón, 54 F.3d

980, 984 (1st Cir. 1995)).

        “To succeed in showing that there is no genuine dispute of material fact, the moving

party must direct [the Court] to specific evidence in the record that would be admissible at trial.”

Ocasio-Hernández v. Fortuño-Burset, 777 F.3d 1, 4 (1st Cir. 2015). “That is, it must

‘affirmatively produce evidence that negates an essential element of the non-moving party’s

claim,’ or, using ‘evidentiary materials already on file . . . demonstrate that the non-moving party

will be unable to carry its burden of persuasion at trial.’” Id. at 4–5 (quoting Carmona v. Toledo,

215 F.3d 124, 132 (1st Cir. 2000)). Once the moving party has laid out its basis for summary

judgment, the burden shifts to the party opposing summary judgment to demonstrate, “with

respect to each issue on which she would bear the burden of proof at trial, . . . that a trier of fact

could reasonably resolve that issue in her favor.” Borges, 605 F.3d at 5.

        On a motion for summary judgment, the Court reviews “the entire record in the light

most hospitable to the party opposing summary judgment.” Podiatrist Ass’n v. La Cruz Azul de

P.R., Inc., 332 F.3d 6, 13 (1st Cir. 2003) (quoting Griggs-Ryan v. Smith, 904 F.2d 112, 115 (1st

Cir. 1990)). Where inferences are to be drawn from the proffered facts, those inferences “must

be viewed in the light most favorable to the party opposing the motion.” Oleskey ex rel.

Boumediene v. U.S. Dep’t of Def., 658 F. Supp. 2d 288, 294 (D. Mass. 2009) (citing Founding

Church of Scientology of Wash., D.C., Inc. v. Nat’l Sec. Agency, 610 F.2d 824, 836 (D.C. Cir.

                                                   5
           Case 1:24-cv-11582-ADB           Document 71       Filed 06/24/25      Page 6 of 12




    1979)). The Court, however, “safely may ignore conclusory allegations, improbable inferences,

    and unsupported speculation.” Cochran v. Quest Software, Inc., 328 F.3d 1, 6 (1st Cir. 2003)

    (internal quotation and citation omitted).

III.       DISCUSSION

           UPPAbaby argues that Baby Jogger’s claims are barred by the doctrine of equitable

    estoppel because the parties’ “letter correspondence preceded this litigation by eight years of

    inaction.” [ECF No. 42 at 13].

           The three elements of an equitable-estoppel defense to a patent-infringement claim are:

                   a. The patentee, through misleading conduct, leads the alleged
                   infringer to reasonably infer that the patentee does not intend to
                   enforce its patent against the alleged infringer. “Conduct” may
                   include specific statements, action, inaction, or silence where there
                   was an obligation to speak.
                   b. The alleged infringer relies on that conduct.
                   c. Due to its reliance, the alleged infringer will be materially
                   prejudiced if the patentee is allowed to proceed with its claim.

   Scholle Corp. v. Blackhawk Molding Co., 133 F.3d 1469, 1471 (Fed. Cir. 1998) (quoting A.C.

    Aukerman Co. v. R.L. Chaides Constr. Co., 960 F.2d 1020, 1028 (Fed. Cir. 1992) (en banc),

    abrogated on other grounds by SCA Hygiene Prods. Aktiebolag v. First Quality Baby Prods.,

    LLC, 580 U.S. 328 (2017)).

           “[W]hen the course of dealings between a patentee and an alleged infringer is such that

    the alleged infringer reasonably infers from the patentee’s misleading conduct of inaction that

    the patentee has waived its patent rights, then the first element of equitable estoppel has been

    established absent a statement to the contrary by the patentee.” Scholle, 133 F.3d at 1472; see

    also Aspex Eyewear Inc. v. Clariti Eyewear, Inc., 605 F.3d 1305, 1310 (Fed. Cir. 2010) (“[A]

    patentee’s silence and inaction can be misleading in the context of the specific interaction

    between the parties.”); Aukerman, 960 F.2d at 1042 (“[P]laintiff’s inaction must be combined
                                                     6
       Case 1:24-cv-11582-ADB           Document 71        Filed 06/24/25      Page 7 of 12




with other facts respecting the relationship or contacts between the parties to give rise to the

necessary inference that the claim against the defendant is abandoned.”). “Put otherwise,

misleading conduct occurs where an accused infringer can reasonably infer from a patent

owner’s conduct or silence that the patent owner has known of the allegedly infringing activities

for some time without having asserted its rights.” Fraunhofer-Gesellschaft zur Förderung der

angewandten Forschung e.V. v. Sirius XM Radio Inc., No. 2023-2267, 2025 WL 1617966, at *5

(Fed. Cir. June 9, 2025). “In the most common situation, the patentee specifically objects to the

activities currently asserted as infringement in the suit and then does not follow up for years.”

Aukerman, 960 F.2d at 1042. “[T]he longer the [patentee’s] delay” in filing suit, “the stronger

the inference becomes” that the patentee has abandoned its claim. Id. at 1044.

       Additionally, “[t]he accused infringer must show that, in fact, it substantially relied on the

misleading conduct of the patentee in connection with taking some action.” Id. at 1042–43.

“[T]here is a difference between prejudice that results from delay and prejudice that is due to

reliance upon delay.” SCA Hygiene Prods. Aktiebolag v. First Quality Baby Prods., LLC, 767

F.3d 1339, 1347 (Fed. Cir. 2014) (quoting Meyers v. Asics Corp., 974 F.2d 1304, 1308 n.1 (Fed.

Cir. 1992)). 3 To show reliance, a defendant “need not prove precisely what alternative paths it

would have taken, or that every marketing decision was based on [the patentee’s] silence.”

Aspex, 605 F.3d at 1312. But the defendant “must nevertheless establish that it at least

considered [the patentee’s] silence or inaction and that such consideration influenced its

decision[s].” Fraunhofer-Gesellschaft, 2025 WL 1617966, at *5.




3
  “The three-judge panel’s treatment of equitable estoppel in SCA Hygiene remains good law,”
despite the Supreme Court’s vacatur of the Federal Circuit’s en banc decision on the issue of
laches. Fraunhofer-Gesellschaft, 2025 WL 1617966, at *3 n.3.
                                                7
       Case 1:24-cv-11582-ADB           Document 71        Filed 06/24/25      Page 8 of 12




       UPPAbaby is not entitled to summary judgment because it has failed to establish both the

first element (misleading conduct) and the second element (reasonable reliance) of equitable

estoppel.

       With respect to the first element, UPPAbaby contends that Baby Jogger’s eight years of

inaction following the parties’ correspondence constitute misleading conduct because that

inaction led UPPAbaby to believe that Baby Jogger did not intend to enforce its patent against it.

[ECF No. 42 at 13–14]. Specifically, UPPAbaby argues that because Baby Jogger did not

respond to the unfair business practice allegations or expressly deny that its representative stole

the idea from UPPAbaby seven years earlier, it understood “the tone and content of [the March

Letter] to represent closure,” with UPPAbaby abandoning any infringement claims. [ECF No.

42 at 5, 14–15].

       It is undisputed that after sending the March Letter in 2016, Baby Jogger took no further

action against UPPAbaby until the filing of the Complaint on June 18, 2024. [ECF No. 49 ¶ 26].

That said, because Baby Jogger’s inaction “must be combined with other facts respecting the

relationship or contacts between the parties to give rise to the necessary inference that the claim

against [UPPAbaby] is abandoned,” the question for the Court is whether the record compels

such an inference. Aukerman, 960 F.2d at 1042; see also id. at 1044 (“[O]n summary judgment,

such inference [that the patentee has abandoned its claim] must be the only possible inference

from the evidence.”).

       Here, the relevant items of record include the three letters and one e-mail exchanged

between December 2015 and March 2016. From this limited record UPPAbaby first asks the

Court to conclude that as a result of the breakdown in confidential business discussions—the

nature of which is entirely unknown to the Court—Baby Jogger “attempted to disrupt

                                                 8
       Case 1:24-cv-11582-ADB          Document 71        Filed 06/24/25      Page 9 of 12




UPPAbaby’s business.” [ECF No. 42 at 14]. The Court finds little support for this assertion in

the record. 4 Second, UPPAbaby argues that its December 30 Letter, which stated that “Newell

Rubbermaid appears to be engaging in unfair business practices and attempting to disrupt

UPPAbaby’s business,” indicated that it was “prepared to assert its claim if sued for patent

infringement.” [ECF No. 42 at 14]. Based on the documents before it, including the wording of

the letter, the Court cannot make such a leap. Nor may the Court draw inferences in

UPPABaby’s favor regarding UPPABaby’s understanding of the March Letter—and, more

specifically, UPPAbaby’s belief that the March Letter reflected the parties’ agreement not to sue

each other—based on what that letter “did not say.” [ECF No. 42 at 15]. See Podiatrist Ass’n,

332 F.3d at 13 (requiring court to “indulg[e] all reasonable inferences” in the non-moving party’s

favor (citation omitted)).

       In the Court’s view, the record as it stands arguably supports, but does not go so far as to

require, the inference that Baby Jogger’s inaction was misleading “in the context of the specific

interaction between the parties.” Aspex, 605 F.3d at 1310. The fact that Baby Jogger

specifically objected to activities by UPPAbaby asserted as infringement in this lawsuit and then

did not follow up for eight years doubtless supports the inference that Baby Jogger abandoned its

claim, an inference strengthened by the length of Baby Jogger’s delay. See Aukerman, 960 F.2d

at 1044. But a trier of fact could reasonably draw a contrary inference from the March Letter—

in which Baby Jogger responded to UPPAbaby’s arguments regarding the invalidity of ’869

Patent and stated it “look[ed] forward to working together towards a resolution,” [March Letter



4
  To the extent UPPABaby relies on the declaration of Trung Phung, the company’s President,
the Court notes that the declaration offers no insight into what the confidential business
conversations entailed or why he believes the breakdown of those discussions led to the
December 4 Letter. See generally [ECF No. 42-1].
                                                  9
      Case 1:24-cv-11582-ADB           Document 71         Filed 06/24/25      Page 10 of 12




at 2]—namely that, far from abandoning its claim, Baby Jogger had “clarif[ied]” which products

were at issue in its claim and would continue to press it. [March Letter at 1]. Since neither

inference is “the only possible inference,” the Court declines to hold that Baby Jogger’s conduct

was misleading as a matter of law. Aukerman, 960 F.2d at 1044. 5

       Although the Court is skeptical that the record establishes, as a matter of law, that Baby

Jogger’s inaction was sufficiently misleading “in the context of the specific interaction between

the parties,” Aspex, 605 F.3d at 1310, a period of eight years is certainly stretching the limits.

For this reason, the Court proceeds to consider the second element of equitable estoppel

(reliance), which UPPAbaby has more clearly failed to establish.

       With regards to reliance, UPPAbaby claims it suffered both economic and defensive

prejudice in reliance on Baby Jogger’s conduct. [ECF No. 42 at 16–21]. In support, UPPAbaby

points to “its continued investment in the accused Vista stroller and RumbleSeat . . . after Baby

Jogger accused [UPPAbaby] of infringement in 2015” and to the “fact that the parties mutually




5
  Scholle, a case relied on by UPPAbaby, is distinguishable from the instant action. There,
plaintiff sent a cease-and-desist letter to defendant yet refused to identify the alleged infringed
claims despite being prompted twice to do so by defendant. Scholle, 133 F.3d at 1470.
Defendant also presented a new product to plaintiff and communicated that it would consider the
product non-infringing unless it was advised otherwise by plaintiff, who offered no response to
the communication. Id. Further, in the three years leading up to the filing of the lawsuit, the
parties’ high-level corporate executives “had numerous contacts,” with “[m]any of those contacts
concerning” the patent-in-suit. Id. at 1472. In light of the parties’ interactions, the Federal
Circuit determined that defendant reasonably inferred that plaintiff did not intend to enforce its
patent. Id. In contrast here, the parties’ exchange was limited to just a few months, rather than
interactions spanning several years, and the final communication came from the plaintiff, not the
defendant. The plaintiff’s conduct and communications in Aspex strike the Court as
distinguishable for similar reasons. See Aspex, 605 F.3d at 1308 (where parties had previously
engaged in patent litigation, plaintiff notified defendant of its “strong intention to fully and
vigorously enforce [its] rights,” describing it as a “very urgent and serious matter,” defendant
responded, and plaintiff did not follow up with respects to the patents in suit for three years).
                                                   10
         Case 1:24-cv-11582-ADB          Document 71        Filed 06/24/25      Page 11 of 12




   withheld suit against each other for 8.5 years.” [ECF No. 52 at 8]; see also [ECF No. 42-1

   ¶¶ 19–23].

          As an initial matter, neither of these facts—UPPAbaby’s investment in its products and

   its decision not to sue Baby Jogger for unfair business practices—is undisputed. See [ECF No.

   49 ¶¶ 34–35]. More fundamentally, UPPAbaby identifies no fact in the record—and the Court

   has found none—showing a nexus between UPPAbaby’s alleged prejudice and its reliance on

   Baby Jogger’s silence. It is undisputed that Baby Jogger knew that UPPAbaby continued to sell

   the Vista stroller and the RumbleSeat after the parties’ correspondence. [ECF No. 49 ¶ 29]. But

   UPPAbaby has not adduced any evidence that it “considered” Baby Jogger’s inaction in deciding

   to continue selling and investing in the accused products. Fraunhofer-Gesellschaft, 2025 WL

   1617966, at *5. And, as discussed above, the record does not indisputably establish that

   UPPAbaby was prepared to assert a claim for unfair business practices in response to an

   infringement suit by Baby Jogger, let alone that UPPAbaby forwent such a claim in reliance on

   Baby Jogger’s inaction. Because UPPAbaby has not shown that “in fact, it substantially relied

   on” Baby Jogger’s inaction “in connection with taking some action,” UPPAbaby has failed to

   establish reasonable reliance at this stage in the litigation. Aukerman, 960 F.2d at 1042.

           Accordingly, because the Court finds that UPPAbaby has not satisfied the first or second

   element of its equitable-estoppel defense, the motion is DENIED. 6

IV.       CONCLUSION

          For the reasons set forth above, Defendant’s motion for summary judgment, [ECF No.

   41], is DENIED.



   6
     UPPAbaby may raise the defense of equitable estoppel at a later time once a more fulsome
   factual record is established if warranted.
                                                11
     Case 1:24-cv-11582-ADB   Document 71   Filed 06/24/25   Page 12 of 12




      SO ORDERED.

June 24, 2025                                  /s/ Allison D. Burroughs
                                               ALLISON D. BURROUGHS
                                               U.S. DISTRICT JUDGE




                                    12
